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UN|TED STATES OF AMER|CA
P|aintiff

VS.
CR. NO. 04-20303-0

CURT|S PETT|GREW

Defendant.

 

ORDER ON CONT|NUANCE AND SPEC|FYING PER|OD OF EXCLUDABLE DELAV
AND SETTING

 

This is scheduled for a report date on July 21, 2005. Counsel for the defendant
filed a motion seeking a continuance of the August 1, 2005 trial date in order to allow for
additional preparation in the case.

The Court granted the motion and reset the trial date to September 6, 2005 with a
report date of Thursday, August 25l 2005, at 9:00 a.m., in Cou rtroom 3, 9th Floorof the
Federa| Building, Memphis, TN.

The period from August 12, 2005 through September16, 2005 is excludable under
18 U.S.C. § 3161(h)(8)(B)(iv) because the ends of justice served in allowing for additional
time to prepare outweigh the need for a speedy trial.

lT lS SO ORDERED thise{‘_$' day of July, 2005.

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UNITED sATE ISTRICT COURT - WTER DISTRCT OFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 26 in
case 2:04-CR-20303 Was distributed by faX, mail, or direct printing on
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Honcrable Bernice Donald
US DISTRICT COURT

